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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF
                          VIRGINIA
                                    Alexandria Division

   UNITED STATES, et al.,

          Plaintiffs,

   v.                                                    Case No.: 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

          Defendant.

               NON-PARTY DISTRICT COMMUNICATIONS GROUP, LLC’S
                               MOTION TO SEAL

          Pursuant to Local Civil Rules 5(C) and 5(H) and this Court’s June 24, 2024 Order (Dkt.

   871), non-party District Communications Group, LLC (“DCG”), through its undersigned

   counsel, respectfully moves this Court to seal portions of certain confidential documents

   included on Defendant Google LLC’s Exhibit List for trial (Dkt. 894). Specifically, DCG

   respectfully requests that the Court protect from public view DCG’s proprietary information

   contained in the document identified as DTX 0975 on Google’s Exhibit List. DCG’s proposed

   redaction to this document is reflected in blue highlighting in Exhibit 1 (filed under seal) to the

   accompanying memorandum of law, which is hereby incorporated by reference. As explained

   in the memorandum, sealing this small portion of this documents is necessary and narrowly

   tailored to protect DCG sensitive, confidential, and business information.



   Dated: July 26, 2024                 Respectfully submitted,


                                        DISTRICT COMMUNICATIONS GROUP, LLC

                                        By counsel:




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                                         ___________/s/____________________
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the July 26, 2024, I electronically filed the foregoing with the Clerk

   of Court using the CM/ECF system, which will then send a notification of such filing (NEF) to

   all counsel of record.

                                         ___________/s/____________________
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